                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION


KARLA KOONTZ,                                 )
                                              )
       Plaintiff.                             )
                                              )
v.                                            )       Case No:
                                              )
QC Financial Services, Inc.                   )
d/b/a LendNation                              )
       Serve Registered Agent:                )
       CSC-Lawyers Incorporating              )
       Service Company                        )
       221 Bolivar Street                     )
       Jefferson City, Missouri 65101         )
                                              )
       Defendant.                             )

                     COMPLAINT AND DEMAND FOR JURY TRIAL


       Plaintiff Karla Koontz, pursuant to the Family Medical Leave Act, 29 U.S.C. §§2601, et

seq. (“FMLA”), the Americans with Disabilities Act, as amended in 2008 (“ADA” / “ADAAA”),

42 U.S.C. §12101 et seq., and the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C.

§ 621 et seq., brings the following Complaint against Defendant QC Financial Services, Inc. and

alleges the following:

                                            PARTIES

1.     Plaintiff Karla Koontz (hereinafter referred to as “Plaintiff”) is currently a resident of

Buchanan County, Missouri and is over the age of forty (40). At all times relevant hereto,

Plaintiff was employed at Defendant’s short-term loan and check cashing businesses (commonly

known as LendNation), primarily at Defendant’s St. Joseph, Missouri location.




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2.     Defendant QC Financial Services, Inc. (hereinafter referred to as “Defendant”) is a

Kansas corporation, with its principal place of business located in Lenexa, Kansas.



                                 JURISDICTION AND VENUE

3.     Jurisdiction in this Court is proper against Defendant pursuant to 28 U.S.C. §§ 1331 and

1343 because the acts complained arise under the FMLA, the ADA/ADAAA, and the ADEA,

thereby invoking federal question subject matter jurisdiction.

4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the events giving rise

to Plaintiff’s claims occurred within this District in St. Joseph, Missouri.

5.     On July 26, 2019, Plaintiff filed a Charge of Discrimination against Defendant with the

Equal Employment Opportunity Commission (“EEOC”) alleging discrimination based upon

disability and age. A true and accurate copy of the Charge of Discrimination against Defendant

is attached hereto as Exhibit “A”.

6.     The aforesaid Charge of Discrimination provided the EEOC sufficient opportunity to

investigate the full scope of the controversy between the parties and, accordingly, the sweep of

this judicial compliant may be and is a broad scope of the EEOC investigation, which could

reasonably be expected to have grown out of the Charge of Discrimination.

7.     On or about October 17, 2019, the EEOC issued Plaintiff Koontz her Notice of Right to

Sue pertaining to her complaint of discrimination on Charge Number 563-2019-02660.

8.     A true and accurate copy of Plaintiff Koontz’s Notice of Right to Sue Letter dated

October 17, 2019 is attached hereto as Exhibit “B”.

9.     Plaintiff Koontz has filed her lawsuit within 90 days of her receipt of her “dismissal and

Notice of Rights” letter from the EEOC.




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10.     Plaintiff has satisfied all private, administrative, and judicial prerequisites to the

institution of this action.

                                    STATEMENT OF FACTS

11.     Plaintiff hereby incorporated by reference each and every allegation and averment in the

preceding and foregoing paragraphs as though fully set forth herein.

12.     Plaintiff began her employment with Defendant in October 2003 as a Customer Service

Representative at Defendant’s location in St. Joseph, Missouri.

13.     Defendant promoted Plaintiff to Assistant Manager in 2005.

14.     Defendant promoted Plaintiff to Branch Manager in 2006.

15.     In 2015, Plaintiff worked at Defendant’s locations in both Kansas City and St. Joseph to

cover employee shortages, train new employees, and train new branch managers.

16.     Plaintiff performed her job duties satisfactorily or better at all times relevant hereto

during her employment with Defendant.

17.     In 2019, at all times relevant hereto, Plaintiff’s supervisor was Area Manager Kim

Manning.

18.     Ms. Manning was an employee or agent of Defendant.

19.     Plaintiff has been diagnosed with Asthma and Chronic Obstructive Pulmonary Disease

(COPD) and, at times, has trouble breathing. Stress exacerbates the symptoms of her disabilities

and causes her pain.

20.     In March 2019, flooding from the Missouri River impacted Plaintiff’s home in Big Lake,

Missouri.

21.     On or about March 14, 2019, Plaintiff requested time off work from Ms. Manning to save

items from her home. Ms. Manning denied Plaintiff’s request.




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22.    On or about March 15, 2019, Plaintiff’s home was destroyed by flooding.

23.    On or about March 18, 2019, Plaintiff requested time off work from Ms. Manning

because she was having health issues from the stress of her home flooding, including depression,

dizziness, light-headedness, and flare-ups of her asthma and COPD symptoms. Plaintiff advised

Ms. Manning of her health issues, and Ms. Manning denied Plaintiff’s request.

24.    At the time of her requests, Ms. Manning warned Plaintiff that if she took time off work

she could be disciplined and lose her job.

25.    During Plaintiff’s lunch hour on or about March 22, 2019, Plaintiff sought medical

assistance from her physician at Plattsburg Family Medicine. Her physician advised her not to

return to work, and take time off work from March 22nd through March 29th due to her medical

conditions.

26.    On or about March 22, 2019, Plaintiff told Ms. Manning about her physician’s directive.

Ms. Manning told Plaintiff she would be written up if she took days off. Plaintiff’s request for

minimal leave from work was a request for reasonable accommodation, and it was also a request

to enter into interactive discussions to request reasonable accommodations.

27.    Plaintiff contacted Defendant’s Human Resources Director Kieyata Walrod, and she

complained to Ms. Walrod about Ms. Manning’s threats against her employment.

28.    Ms. Walrod was an employee or agent of Defendant.

29.    Ms. Walrod was dismissive, and she accused Plaintiff of lying about Ms. Manning’s

threats against her employment.

30.    On or about March 30, 2019, Ms. Manning wrote up Plaintiff for being 30 minutes late

from her lunch break on March 22nd and for not having her physician’s visit pre-approved by the

Defendant.




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31.    Ms. Manning’s discipline of Plaintiff was in retaliation for her lawfully protected

complaint to Ms. Walrod.

32.    In April 2019, in further retaliation against Plaintiff, Defendant reduced Plaintiff’s hours

of work from approximately 60 hours per week to approximately 40 hours per week.

33.    In May 2019, Plaintiff worked while suffering from sinusitis. Plaintiff’s immediate

supervisor at that time, Becky Sharp, instructed her to visit urgent care and then submit the hours

she was away from work as vacation time, so that she could get paid for the time she spent at

urgent care. Ms. Sharp was an employee or agent of Defendant. When Plaintiff submitted the

vacation hours to Ms. Manning for her visit to urgent care, she was denied.

34.    Reducing Plaintiff’s hours and denying her request to use vacation hours after seeking

medical treatment for sinusitis at urgent care were both unlawful retaliatory actions.

35.    On or about July 11, 2019, Defendant accused Plaintiff of bringing illegal drugs to work

and fired Plaintiff for pretextual reasons.

36.    After her termination, Defendant continued its pattern of discrimination and/or retaliation

against Plaintiff by opposing her request for unemployment benefits.

37.    Plaintiff was the victim or discriminatory and retaliatory conduct on the part of

Defendant that was a continuing pattern of discrimination and/or retaliation.

38.    At all times relevant hereto, Defendant was aware of Plaintiff’s medical condition.

39.    Plaintiff’s asthma and COPD, and their symptoms, were chronic medical conditions that

required treatment by a health care provider.

40.    Stress often triggers the flare-up of painful symptoms in persons with asthma and COPD.

41.    Pain has been shown to interfere with self-management activities, sleep, physical

functioning, work, mood, and quality of life.




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42.     Defendant failed to advise Plaintiff that she could have been entitled to FMLA leave.

43.     Defendant failed to advise Plaintiff that she could have been entitled to leave under the

ADA as a reasonable accommodation.

44.     Defendant failed to advise Plaintiff that leave of any type, including FLMA leave, was an

option for Plaintiff.

45.     Defendant interfered with Plaintiff’s rights under the FMLA by failing to give her notice

of her right to FMLA leave.

46.     Plaintiff suffers from physical and mental impairments, asthma and COPD and

accompanying flare-ups of symptoms from those conditions, which substantially limits one or

more of her major life activities, including, but not limited to: accomplishment of her daily

routines of life and/or working.

                                       COUNT I
                        VIOLATION OF FAMILY MEDICAL LEAVE ACT


47.     Plaintiff hereby incorporates by reference each and every allegation and averment in the

preceding and foregoing paragraphs as though fully set forth herein.

48.     The Family Medical Leave Act (“FMLA”) makes it unlawful for any employer to

interfere with, restrain, or deny the exercise of or the attempt to exercise, any right pursuant to

the FMLA.

49.     Defendant is an “employer” as defined at 29 U.S.C. Section 2611(4)(A)(i).

50.     Plaintiff is a “person” as defined at 29 U.S.C. Section 2611(8).

51.     Plaintiff was an “eligible employee” as that phrase is defined by 29 U.S.C. Section

2611(2)(A)(i) and (ii).

52.     Plaintiff was entitled to benefits and leave under the FMLA.




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53.    Defendant was at all time material hereto engaged in “commerce” or was engaged in an

“industry or activity affecting commerce,” as that word and phrase are defined in 29 U.S.C.

Section 2611(1) and at 29 U.S.C. Sections 142(1) and (3), as made applicable by 29 U.S.C.

Section 2611(1).

54.    Defendant interfered with, restrained, and/or denied Plaintiff’s exercise, or attempted

exercise, of her rights under 29 U.S.C. Section 2601, et seq. in violation of 29 U.S.C. Section

2615(a).

55.    Defendant interfered with Plaintiff’s rights under the FMLA by failing to give her notice

of her right to FMLA leave.

56.    Defendant was on notice that Plaintiff has a serious medical condition.

57.    Plaintiff was entitled to FMLA protected leave with respect to any serious health

conditions of her own, or serious health conditions of others, in 2019.

58.    Pursuant to 29 CFR 825.123, Plaintiff was entitled to receive notice of her FMLA rights

and protection by the FMLA.

59.    Plaintiff’s asthma and COPD and accompanying pain and other symptoms were serious

medical conditions that entitled Plaintiff to FMLA leave.

60.    Defendant failed to give Plaintiff notice of her FMLA rights.

61.    Defendant failed to give Plaintiff notice of her right to intermittent FMLA leave.

62.    Defendant interfered with Plaintiff’s right to FMLA leave.

63.    Defendant did not provide Plaintiff job-protected leave.

64.    Defendant retaliated against Plaintiff for her exercise and attempted exercise of rights

protected by the FMLA by never disclosing the use of FMLA as an option.




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65.    Defendant ultimately terminated Plaintiff’s employment in retaliation for attempting to

take FMLA leave.

66.    Defendant violated Plaintiff’s rights under the FMLA and willfully manipulated,

interfered with, restrained and denied Plaintiff the exercise of rights provided by the FMLA and

its implementing regulations.

67.    As a result of Defendant’s conduct, Plaintiff has suffered emotional distress, humilitation

and embarrassment.

68.    As a direct and proximate result of defendant’s actions in violation of the FMLA,

Plaintiff sustained damages in the form of salary and benefits.

69.    Plaintiff is entitled to all damages authorized by 29 U.S.C. Section 2617, including lost

wages and benefits, interest, liquidated damages, attorneys’ fees, and equitable relief.

       WHEREFORE, Plaintiff respectfully prays for judgement in her favor and against

Defendant in the form of an order of this Court: (1) awarding her back pay in an amount yet to be

determined; (2) awarding her front pay in an amount yet to be determined; (3) awarding her lost

benefits in an amount yet to be determined; (4) awarding her liquidated damages in an amount

yet to be determined; (5) awarding her costs and expenses, including, but not limited to,

attorneys’ fees and expert witness’s fees, incurred in prosecuting her claims of discrimination;

and (6) awarding such other and further relief as this Court deems just and proper.

                              COUNT II
           FAILURE TO ACCOMMODATE IN VIOLATION OF THE ADAAA


70.    Plaintiff hereby incorporates by reference each and every allegation and averment in the

preceding and foregoing paragraphs as though fully set forth herein.




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71.     Plaintiff has disabilities, or is regarded as such, as defined by the Americans with

Disabilities Act, to-wit:

        a.       Plaintiff suffers from physical and mental impairments, asthma and COPD and

accompanying pain and other symptoms from asthma and COPD, which substantially limit one

or more of her major life activities, including, but not limited to: accomplishment of her daily

routines of life and/or working;

        b.       a record of such physical impairments; or,

        c.       Defendant regarded Plaintiff as having such impairments.

72.     Plaintiff is a qualified individual with disabilities, or is regarded as such, as defined by

the Americans with Disabilities Act. Plaintiff, with or without reasonable accommodation, was

able to perform the essential functions of her employment with Defendant.

73.     Following Plaintiff’s medical appointments in March 2019 and May 2019, and knowing

of her medical condition, Defendant did not discuss with Plaintiff whether she needed a

reasonable accommodation.

74.     Defendant engaged in said discriminatory practices with malice or reckless indifference

to the protected rights of Plaintiff.

75.     As a direct and proximate result of Defendant’s violation of the ADA, as aforestated,

Plaintiff has suffered depression, emotional and physical distress, mental and physical anguish,

loss of reputation, humiliation and embarrassment, and will so in the future.

76.     As a further direct and proximate result of Defendant’s violation of the ADA, Plaintiff

has been placed in financial distress and has suffered a loss of earning and benefits, and will so

suffer in the future; she has been required to employ the services of an attorney to bring this

lawsuit and will suffer additional damages in the future.




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        WHEREFORE, Plaintiff respectfully prays that this Court find in favor of Plaintiff and

against Defendant in the form of the order of this Court: (1) declare that the aforementioned

practices and actions of Defendant constitute unlawful employment practices in violation of the

Americans with Disabilities Act, 42 U.S.C. Section 12101 et seq., (2) award Plaintiff all lost

wages, past and future, to which she is entitled, (3) award Plaintiff all compensatory, punitive,

and exemplary damages, (4) award Plaintiff all expenses and attorneys’ fees, with interest at the

highest lawful rate, and (5) award any other relief as this Court deems just and proper.

                                    COUNT III
                    DISCRIMINATION IN VIOLATION OF THE ADAAA


77.     Plaintiff hereby incorporates by reference each and every allegation and averment in the

preceding and foregoing paragraphs as though fully set forth herein.

78.     Defendant subjected Plaintiff to disparate treatment, harassment, and/or termination, as

set forth herein, in whole or in part because of her disabilities, or regarded her as such, said acts

being made unlawful by the Americans with Disabilities Act, 42 U.S.C. 12101 et seq. (“ADA” /

“ADAAA”).

79.     Defendant violated the aforementioned ADA, inter alia, by subjecting Plaintiff to

disparate treatment and harassment based on her disabilities and/or requests for accommodation

and terminating Plaintiff’s employment.

80.     Defendant engaged in said discriminatory practices with malice or reckless indifference

to the federally protected rights of Plaintiff.

81.     As a direct and proximate result of Defendant’s violation of the ADA, as aforestated,

Plaintiff has suffered depression, emotional and physical distress, mental and physical anguish,

loss of reputation, humiliation and embarrassment, and will so in the future.




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82.     As a further direct and proximate result of Defendant’s violation of the ADA, Plaintiff

has been placed in financial distress and has suffered a loss of earning and benefits, and will so

suffer in the future; she has been required to employ the services of an attorney to bring this

lawsuit and will suffer additional damages in the future.

        WHEREFORE, Plaintiff respectfully prays that this Court find in favor of Plaintiff and

against Defendant in the form of the order of this Court: (1) declare that the aforementioned

practices and actions of Defendant constitute unlawful employment practices in violation of the

Americans with Disabilities Act, 42 U.S.C. Section 12101 et seq., (2) award Plaintiff all lost

wages, past and future, to which she is entitled, (3) award Plaintiff all compensatory, punitive,

and exemplary damages, (4) award Plaintiff all expenses and attorneys’ fees, with interest at the

highest lawful rate, and (5) award any other relief as this Court deems just and proper.

                                  COUNT IV
               RETALIATION, INTERFERENCE, AND/OR INTIMIDATION
                          IN VIOLATION OF THE ADA


83.     Plaintiff hereby incorporates by reference each and every allegation and averment in the

preceding and foregoing paragraphs as though fully set forth herein.

84.     During the time Plaintiff was employed by Defendant, Plaintiff engaged in protected

activity under the ADA, and Plaintiff opposed acts and practices made unlawful by the ADA

including, but not limited to, failing to accommodate Plaintiff’s disability and/or subjecting

Plaintiff to disparate treatment, harassment, and/or discrimination on the basis of her disabilities,

as set forth herein.

85.     Defendant retaliated and discriminated against Plaintiff, ultimately terminating Plaintiff’s

employment, for engaging in said protected activity, as set forth herein.




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86.    During the time Plaintiff was employed by Defendant, she exercised and/or enjoyed the

right granted and/or protected by the ADA including, but not limited to, requesting reasonable

accommodation for her disability, as set forth herein.

87.    Defendant intimidated and/or threatened Plaintiff on account of her having exercised

and/or enjoyed rights granted and/or protected by the ADA, as set forth herein.

88.    Defendant interfered with Plaintiff on account of her having exercised and/or enjoyed

rights granted and/or protected by the ADA, as set forth herein.

89.    As a direct and proximate result of Defendant’s violation of the ADA, as aforestated,

Plaintiff has suffered depression, emotional and physical distress, mental and physical anguish,

loss of reputation, humiliation and embarrassment, and will so in the future.

90.    As a further direct and proximate result of Defendant’s violation of the ADA, Plaintiff

has been placed in financial distress and has suffered a loss of earning and benefits, and will so

suffer in the future; she has been required to employ the services of an attorney to bring this

lawsuit and will suffer additional damages in the future.

       WHEREFORE, Plaintiff respectfully prays that this Court find in favor of Plaintiff and

against Defendant in the form of the order of this Court: (1) declare that the aforementioned

practices and actions of Defendant constitute unlawful employment practices in violation of the

Americans with Disabilities Act, 42 U.S.C. Section 12101 et seq., (2) award Plaintiff all lost

wages, past and future, to which she is entitled, (3) award Plaintiff all compensatory, punitive,

and exemplary damages, (4) award Plaintiff all expenses and attorneys’ fees, with interest at the

highest lawful rate, and (5) award any other relief as this Court deems just and proper.

                             COUNT V
  VIOLATION OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT (“ADEA”)




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91.     Plaintiff hereby incorporates by reference each and every allegation and averment in the

preceding and foregoing paragraphs as though fully set forth herein.

92.     Plaintiff was at all times material hereto an employee of Defendant within the meaning of

the ADEA. Plaintiff is over the age of 40 and, as such, is a member of a class of persons

protected by the ADEA by virtue of age.

93.     Plaintiff’s age was a determining factor in Defendant’s decision to terminate her

employment, in violation of the ADEA.

94.     Terminating Plaintiff in part due to her age constitutes a violation of 29 U.S.C. Section

623(a). Said violation was willful, which entitles Plaintiff to liquidated damages.

95.     As a direct result of the unlawful conduct of Defendant, as set forth herein, Plaintiff has

suffered loss of past and future wages, a detrimental job record, career damage and diminished

career potential, garden variety emotional distress, and other nonpecuniary losses, all of a

continuing and permanent nature.

96.     The conduct of Defendant was outrageous and evidenced an evil motive or reckless

indifference of Plaintiff’s rights, entitling Plaintiff to any award of punitive damages.

97.     Plaintiff is also entitled to recover all her costs, expenses, expert witness fees, and

attorneys’ fees incurred in this matter.

        WHEREFORE, Plaintiff prays for judgment against Defendant for actual, compensatory

and punitive damages, all costs, expenses and attorneys’ fees incurred herein, for reinstatement

and appropriate equitable relief, for interest at the highest lawful rate, and all other relief the

Court deems fair and equitable.

                                              PRAYER




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       As a result of this retaliatory termination, Plaintiff Karla Koontz has been damaged,

sustaining economic loss as well as humiliation, embarrassment, and emotional distress, and as a

proximate result of Defendant’s termination, her reputation as a faithful, hardworking, loyal, and

diligent employee has been irreparably damaged.

       The retaliatory conduct of Defendant LendNation’s wrongful termination of Plaintiff

constitutes a willful, wanton, and malicious act.

       WHEREFORE, Plaintiff prays for judgment against the Defendant in excess of $75,000

for:

               a.      Back pay and value of benefits from date of termination;

               b.      Future loss of pay and benefits from date of termination;

               c.      Compensating damages for the loss of Plaintiff’s reputation;

               d.      Damages for mental anguish, humiliation and embarrassment;

               e.      Any other damages allowed by law;

               f.      Punitive damage;

               g.      Attorneys’ fees, costs for this action, and for such other and further relief

               as the court deems just and equitable.

                                 DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial.

                                                        Respectfully Submitted,

                                                        __/s Daniel J. Voss___________________________
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                                                        MO Bar #49246
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                                                        Kansas City, Missouri 64112
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